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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             Case No. 23-cv-20262-BLOOM/Otazo-Reyes

  PACIFIC LIFE INSURANCE COMPANY,

            Plaintiff,

  v.

  U.S. BANK, NATIONAL ASSOCIATION,
  as securities intermediary

         Defendant.
  __________________________________/

                                 ORDER ON MOTION TO DISMISS

            THIS CAUSE is before the Court upon Defendant U.S. Bank, National Association’s

  (“U.S. Bank”) Motion to Dismiss, ECF No. [56] (“Motion”), filed on June 13, 2023. Plaintiff

  Pacific Life Insurance Company (“Pacific Life”) filed a Response in Opposition, ECF No. [60], to

  which Defendant filed a Reply, ECF No. [63]. The Court has carefully reviewed the Motion, the

  Response, the Reply, the record in this case, the applicable law, and is otherwise fully advised. For

  the reasons set forth below, the Motion is granted.

       I.   BACKGROUND

            On January 23, 2023, Plaintiff initiated the instant action seeking declaratory relief. See

  ECF No. [1]. Specifically, Plaintiff seeks a declaration that an insurance policy (the “Policy”)

  issued to Judith Weiser (“Ms. Weiser”) is void ab initio because it was procured as a wagering

  contract. Id. ¶ 75. On April 20, 2023, Defendant filed its first Motion to Dismiss. Plaintiff thereafter

  filed the operative Amended Complaint seeking declaratory relief regarding the same stranger-

  originated life insurance (“STOLI”) insurance policy which Plaintiff contends “lacked insurable

  interest because it was procured by and for the benefit of strangers without an insurable interest
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  under Delaware law.” ECF No. [48] ¶¶ 1, 91. Plaintiff alleges that the STOLI Policy “was

  manufactured on the life of Judith Weiser, who, on information and belief, was induced to lend

  her life to investors who procured a $20 million wagering policy on her life [ ] in violation of

  Delaware’s Constitution, insurable interest laws, and public policy.” Id. ¶ 1. In December 2005,

  Pacific Life received a completed application for life insurance which identified the owner and

  beneficiary of the policy as the Judith A. Weiser 2005 Family Trust. Id. ¶¶ 51, 53. Plaintiff received

  the initial premium payment from Coventry, a third-party with no insurable interest in Ms.

  Weiser’s life. Id. ¶¶ 60-61. On September 4, 2008, Pacific Life received and processed a request

  to transfer the ownership and beneficiary of the Policy from the Trust to U.S. Bank, N.A., as

  securities intermediary, care of Coventry First LLC. Id. ¶ 65. On September 8, 2017, Pacific Life

  received and processed a request to transfer the ownership and beneficiary of the Policy to U.S.

  Bank, N.A. as securities intermediary, care of Coventry First Contract Services department. Id. ¶

  66. Ms. Weiser passed on October 28, 2022, and thereafter, on December 23, 2022, Pacific Life

  received a claim for the Policy’s death benefit by or on behalf of U.S. Bank. Id. ¶¶ 67-68. Plaintiff

  alleges that because the Policy was procured by Coventry through an illegal STOLI scheme,

  “Coventry lacked a valid insurable interest in the life of Ms. Weiser.” Id. ¶ 71

         On June 13, 2023, Defendant filed the instant Motion seeking dismissal and contends there

  is no basis for personal jurisdiction. In support, Defendant attached the Affidavit of Christopher J.

  Nuxoll (“Nuxoll”), Vice President at U.S. Bank, ECF No. [56-1] (“Nuxoll Affidavit”). Defendant

  further argues that because Defendant has already brought a separate action against Plaintiff in

  California state court for coercive relief, the case should be dismissed in favor of that action in

  California. See generally ECF No. [56]. Plaintiff responds that the life-wagering scheme alleged

  in the Amended Complaint is jurisdictionally linked to Florida and this Court is in a better position




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  to resolve the validity of an insurance policy that insured the life of a Florida resident. See generally

  ECF No. [60].

     II. LEGAL STANDARD

          Motions to dismiss for lack of personal jurisdiction are governed by Federal Rule of Civil

  Procedure 12(b)(2). “A plaintiff seeking the exercise of personal jurisdiction over a nonresident

  defendant bears the initial burden of alleging in the complaint sufficient facts to make out a prima

  facie case of jurisdiction.” United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009)

  (citations omitted). “Where, as here, the defendant challenges jurisdiction by submitting affidavit

  evidence in support of its position, ‘the burden traditionally shifts back to the plaintiff to produce

  evidence supporting jurisdiction.’” Id. (quoting Meier ex rel. Meier v. Sun Int’l Hotels, Ltd., 288

  F.3d 1264, 1269 (11th Cir. 2002)).

          “A federal court sitting in diversity undertakes a two-step inquiry in determining whether

  personal jurisdiction exists: the exercise of jurisdiction must (1) be appropriate under the state

  long-arm statute and (2) not violate the Due Process Clause of the Fourteenth Amendment to the

  United States Constitution.” Id. (citations omitted). The reach of Florida’s long-arm statute is a

  question of Florida state law, so the Court must construe that statute “as would the Florida Supreme

  Court.” Meier, 288 F.3d at 1271 (quotation marks omitted). “Absent some indication that the

  Florida Supreme Court would hold otherwise,” the Court must “adhere to decisions of its

  intermediate courts.” Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 627 (11th Cir. 1996)

  (citation omitted).




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    III. DISCUSSION

         A.      Florida’s Long Arm Statute

         Florida's long-arm statute recognizes two kinds of personal jurisdiction over a non-resident

  defendant: general jurisdiction and specific jurisdiction. Fla. Stat. §§ 48.193(1)-(2). Here, Plaintiff

  alleges only that specific jurisdiction exists under § 48.193(1)(a), which provides, in relevant part:

          A person, whether or not a citizen or resident of this state, who personally or
         through an agent does any of the acts enumerated in this subsection thereby submits
         himself or herself and, if he or she is a natural person, his or her personal
         representative to the jurisdiction of the courts of this state for any cause of action
         arising from any of the following acts:

         1. Operating, conducting, engaging in, or carrying on a business or business
            venture in this state or having an office or agency in this state.

         2. Committing a tortious act within this state.
         ...

         4. Contracting to insure a person, property, or risk located within this state at the
            time of contracting.

  Id. § 48.193(1)(a). Plaintiff asserts that jurisdiction exists under § 48.193(1)(a)(1), the “doing

  business” provision, § 48.193(1)(a)(2) the “tortious acts” provision, and § 48.193(1)(a)(4), the

  “insurance contract” provision. Defendant responds that “none of the three prongs of the Florida

  long-arm statute identified by Pacific Life confers personal jurisdiction over [Defendant] in this

  [a]ction.” ECF No. [63] at 11.

               i. Fla. Stat. § 48.193(1)(a)(1)

         The “doing business” provision applies when a defendant operates, conducts, engages in,

  or carries on “a business or business venture in” Florida or has “an office or agency in” Florida.

  Fla. Stat. § 48.193(1)(a)(1). Plaintiff alleges that “[t]his Court has specific personal jurisdiction

  over U.S. Bank because U.S. Bank knowingly acquired an insurance policy (the “Policy”) that

  insured the life of a Floridian.” ECF No. [48] ¶ 6. Plaintiff also alleges that “throughout U.S.



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  Bank’s ownership of the Policy, U.S. Bank routinely reached into the state of Florida by phone,

  letter, or other method to communicate with Ms. Weiser, her family members, her designated

  contacts, and/or her medical professionals to monitor her health, and to ultimately determine if and

  when she had died. U.S. Bank either did this itself or by requesting that entities like LexServ LLC

  do so.” Id. ¶ 13. Plaintiff further alleges that “upon Ms. Weiser’s death, U.S. Bank reached into

  Florida to request and obtain a copy of Ms. Weiser’s death certificate from the Florida Bureau of

  Vital Statistics[.]” Id. ¶14.

          Defendant contests Plaintiff’s allegations, first by pointing out that Plaintiff did not explain

  how its allegations satisfy the requirements of the engaged in business prong, but also through the

  Nuxoll Affidavit. ECF No. [56-1] ¶¶ 1-2. Nuxoll asserts that Defendant “does not have any office,

  employee, or agent in Florida in connection with the life settlements portion of its business and

  does not supervise the life settlements portion of its business from Florida.” Id. ¶ 4. Nuxoll further

  asserts that “[a]t no time did [Defendant] have any contact with Judith Weiser, her family, her

  estate, or any other individual or entity in Florida respecting the Policy or the payment of the Policy

  proceeds.” Id. ¶ 9.

          Defendant contends that “[m]erely requesting a death certificate from a Florida agency

  does not constitute ‘[o]perating, conducting, engaging in, or carrying on a business or business

  venture’ in Florida[.]” ECF No. [56] at 17. In support, Defendant cites Royal Acquisitions 001,

  LLC v. Ansur Am. Ins. Co., No. 14-20914-CIV, 2015 WL 1437689 (S.D. Fla. Mar. 27, 2015). In

  that breach of contract action, a court in this district considered whether it had specific jurisdiction

  under 48.193(1)(a)(1) where the defendant “(1) entered into a contract with Plaintiff in Florida and

  sent renewal notices to Plaintiff in Florida, (2) is registered to transact business within the State of

  Florida, (3) has engaged in written and verbal communications directed to Plaintiff in Florida, (4)




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  accepted insurance premiums from Plaintiff which were sent from Florida, (5) utilized an

  independent field adjuster with an office in Florida to review and analyze the subject claim, and

  (6) breached an insurance contract by failing to make payments to Plaintiff in Florida.” Id. at *1.

  That court considered the facts that even though the Defendant was a registered foreign corporation

  in the State of Florida, “Defendant Ansur neither maintains an office in Florida nor has it ever had

  any directors, officers, or employees located in Florida.” Id. at *3. The court further considered

  that defendant did not advertise in Florida, own, use, or poses personal property in Florida, and

  that Plaintiffs did not demonstrate that Defendant had other clients in Florida or provide the

  percentage of overall revenue gleaned from Florida clients. Id. The court concluded that those

  facts, “taken collectively, do not show that Defendant was operating, conducting, or carrying on

  a business in this state to show or a general course of business activity in the state for pecuniary

  benefit.” Id. (emphasis in original).

         Plaintiff responds that Pacific Life’s claims arise from U.S. Bank’s business activities

  because there is a “direct affiliation, nexus, or substantial connection” between those activities and

  claims. ECF No. [60] at 14 (quoting Glovegold Shipping, Ltd. v. Sveriges Angfartygs Assurans

  Forening, 791 So. 2d 4, 10 (Fla. 1st DCA 2000)). In Glovegold, the Florida First District Court of

  Appeal considered whether it had jurisdiction over a defendant that “provides insurance for vessels

  throughout the world.” Glovegold, 791 So. 2d at 6-7. The defendant in that case issued a hull and

  machinery (H&M) insurance policy “for the period from July 31, 1995, to December 31, 1995.”

  Id. at 8. Affidavits submitted by the plaintiff in opposition to a motion to dismiss established that

  the insured vessel was in Florida when the contract for insurance was initially executed and when

  the coverage was extended. Id. at *10. The Glovegold court therefore determined that a direct

  affiliation with Florida existed and there was personal jurisdiction. Id. at 10-11.




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         Plaintiff argues that the Nuxoll Affidavit’s assertion that U.S. Bank did not have contact

  with Ms. Weiser, her family, estate, or any other individual in Florida regarding the Policy

  “appears to be based on the meritless notion these actions do not count because they were

  undertaken by U.S. Bank’s agents – an allegation the U.S. Bank does not deny.” ECF No. [60] at

  14 n.6. Plaintiff further contends that “U.S. Bank engaged in business in Florida by owning a

  policy insuring the life of a Floridian and by perpetuating the wager on her life by continuing to

  pay the premium, by communicating with Ms. Weiser and/or her family to monitor her health and

  thus the status of its wager, and by trying to cash in on that wager by reaching into Florida to obtain

  her death certificate[.]” ECF No. [60] at 14. Plaintiff also argues that the “this Court need not

  consider U.S. Bank’s self-serving affidavit on a motion to dismiss.” Id. at 14 n. 6 (citing Pierson

  v. Orlando Reg’l Healthcare Sys., Inc., 619 F. Supp. 2d 1260, 1282 n. 32 (M.D. Fla. 2009), aff’d,

  451 Fed. Appx. 862 (11th Cir. 2012); Estate of Miller v. Toyota Motor Corp., No. 6:07-cv-1358-

  Orl-19DAB, 2007 WL 4482589, at *3 (M.D. Fla. Dec. 18, 2007)).

         Defendant replies that “[u]nable to rebut the sworn statements in the Nuxoll Affidavit,

  Pacific Life resorts to mischaracterizing that Affidavit as a ‘self-serving affidavit’ that the Court

  ‘need not consider . . . on a motion to dismiss.’” ECF No. [63] at 8. Defendant correctly points out

  that the cases Plaintiff cited suggesting that the court not consider the Affidavit were cases in which

  courts evaluated a 12(b)(6) motion for failure to state a claim rather than a motion to dismiss for

  lack of personal jurisdiction. The Court agrees with Defendant that it is proper to consider the

  Nuxol Affidavit in order to assess the 12(b)(2) Motion.

         In a strikingly similar case, Estate of Seymour Krinsky v. The GIII Accumulation Trust, et

  al., No. 22-80059-CIV-SINGHAL (S.D. Fla. May 25, 2022), a court in this district dismissed a

  STOLI scheme action for lack of personal jurisdiction. There, the court explained that the




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  complaint “only pleads that LexServ monitored, serviced, maintained and collected or assisted in

  collecting on the Policy” and “after his passing, LexServ requested and obtained a copy of Mr.

  Krinsky’s death certificate from the Florida Department of Health and used that death certificate

  to make a claim on the Policy.” ECF No. [63-1] at 7. The court concluded that “it is difficult to

  characterize LexServ’s servicing of a life insurance policy as engaging in a business venture in

  Florida.” Id. at 9. There, like here, the defendant was “not alleged to be a contracting party with

  Plaintiff nor [a party that] solicited Plaintiff to contract.” Id. at 9-10. The Krinsky court determined

  that “LexServ’s servicing of the life insurance policy simply cannot be classified as a business

  venture.” Id. at 10.

          This Court reaches the same conclusion. As the Krinsky court explained:

          “For purposes of section 48.193(1)(a)(1), to demonstrate that a nonresident
          defendant is carrying on business the defendant's activities must be considered
          collectively and show a general course of business activity in the state for pecuniary
          benefit.” Stonepeak Partners, LP v. Tall Tower Capital, LLC, 231 So. 3d 548, 555
          (Fla. 2d DCA 2017) (citing RMS Titanic, Inc. v. Kingsmen Creatives, Ltd., 579 Fed.
          Appx. 779, 783 (11th Cir. 2014)) (cleaned up). “Factors to consider in making this
          determination include: (1) the presence and operation of an office in Florida; (2)
          the possession and maintenance of a license to do business in Florida; (3) the
          number of Florida clients served; and (4) the percentage of overall revenue gleaned
          from Florida clients.” Stonepeak Partners, 231 So. 3d at 555 (citing RMS Titanic,
          579 Fed. Appx. at 784 (citing Horizon Aggressive Growth, L.P. v. Rothstein-Kass,
          P.A., 421 F.3d 1162, 1167 (11th Cir. 2005))).

  Id. at 6.

          Plaintiff has not met any of the four factors enumerated by the Eleventh Circuit. To its

  Response, Plaintiff attached a motion to dismiss filed by Defendant in a case in the District of

  Delaware, ECF No. [60-1], a motion to dismiss or stay for forum non conveniens filed by

  Defendant in a Delaware state court, ECF No. [60-2], A motion to dismiss filed by Defendant in

  the District of Connecticut, ECF No. [60-3], a transcript of proceedings from a state court in

  California, ECF No. [60-4], and an order from a New York state court, ECF No. [60-5],



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  demonstrating that Defendant has previously sought to litigate similar cases in the district or state

  in which the person whose life was insured resided. However, Plaintiff has not attached sufficient

  evidence to demonstrate Defendant’s presence or operation of an office in Florida, the possession

  of a license to do business in Florida, the number of Florida clients served, or the percentage of

  overall revenue gleaned from Florida cases. Although the Eleventh Circuit cautioned that the four

  factors “are not dispositive,” it also noted that “Florida courts have applied them to preclude

  jurisdiction before.” RMS Titanic, 579 F. App’x 784. Although Plaintiff’s attachments certainly

  support that Defendant’s practices are inconsistent, the Court cannot find that Defendant is subject

  to specific jurisdiction based on the “doing business” provision of Florida’s long arm statute. See

  RMS Titanic, Inc. v. Kingsmen Creatives, Ltd., 579 F. App’x at 783; Horizon Aggressive Growth,

  L.P. v. Rothstein-Kass, P.A., 421 F.3d at 1167.

                ii. Fla. Stat. § 48.193(1)(a)(2)

          Florida’s “tortious acts” provision applies to defendants who “[c]ommit[ ] a tortious act

  within this state.” Fla. Stat. § 48.193(1)(a)(2). Plaintiff alleges that “the Policy lacked an insurable

  interest prior to and at its inception and it was procured as an illegal wager on the life of the insured

  as part of a STOLI scheme in violation of, among other things, Delaware’s strict constitution,

  statutory, and common law prohibitions on wagering.” ECF No. [48] ¶ 69. Plaintiff further alleges

  that it “is entitled to, a declaratory judgment that the Policy was an illegal wagering contract that

  violated Delaware’s Constitution, statutes, common law, and public policy, thus rendering the

  Policy void ab initio, meaning that the Policy never came into existence.” Id. ¶ 85.

          Defendant argues that although Plaintiff has alleged that in 2005 another company,

  Coventry, procured the Policy through an illegal STOLI scheme, “all of this conduct occurred




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  outside Florida” and “Florida has no connection to the underlying factual allegations of the

  Amended Complaint.” ECF No. [56] at 16.

            Plaintiff responds that “from 2001 through 2013, U.S. Bank, Coventry, and AIG were

  parties to the Origination Agreements, through which these entities operated a nationwide human

  life wagering enterprise targeting seniors throughout the country and especially in Florida[.]” ECF

  No. [60] at 15. Plaintiff contends that “U.S. Bank understood it was furthering an enterprise

  through which U.S. Bank would assist Coventry in originating policies for Coventry and AIG on

  the lives of Florida seniors. So Coventry’s act of reaching into Florida to solicit and induce Ms.

  Weiser is attributable to U.S. Bank for purposes of jurisdiction.” Id. at 16. In support, Plaintiff

  cites to a Florida appeals court case and two cases from this district. See Wilcox v. Stout, 637 So.

  2d 335, 337 (Fla. 2d DCA 1994); AXA Equitable Life Ins. Co. v. Infinity Fin. Group, LLC, 608 F.

  Supp. 2d 1349 (S.D. Fla. 2009); Lincoln Nat’l Life Ins. Co. v. Griffin, No. 08-80965-CIV, 2009

  WL 10668502 (S.D. Fla. May 12, 2009).

            In Wilcox, Florida’s Second District Court of Appeal held that if a plaintiff “successfully

  alleged a cause of action for conspiracy . . . and if [plaintiff] has successfully alleged that any

  member of that conspiracy committed tortious acts in Florida in furtherance of that conspiracy,

  then all of the conspirators are subject to the jurisdiction of the state of Florida through its long-

  arm statute[.]” 637 So. 2d at 337. Although the court did not specify what tortious act was

  committed in that case, the court did specify that the plaintiff had alleged one of the defendants

  “committed tortious acts in furtherance of the alleged conspiracy within the state of Florida.” Id.

  at 336.

            In AXA, a court in this district noted that “[t]he majority of the defendants . . . are alleged

  to be citizens of Florida” and similarly concluded that “Florida courts may exercise personal




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  jurisdiction over parties to a Florida civil conspiracy even if the alleged civil conspirator otherwise

  has no connection to the state.” 608 F. Supp. 2d at 1354. In support of that conclusion, the AXA

  court noted that “[t]he Eleventh Circuit has held that allegations of intentional torts support the

  exercise of personal jurisdiction over a nonresident defendant with no other contacts with the

  forum.” Id. at 1355 (citing Licciardello v. Lovelady, 544 F.3d 1280, 1285 (11th Cir. 2008)). The

  court found the “the complaint as a whole sufficiently alleges that the defendants formed a civil

  conspiracy, at least some acts in furtherance of which were carried out in Florida.” Id. at 1354

         Similarly, in Lincoln, another court in this district found that because the complaint alleged

  that the defendant “participated with others to carry out an unlawful STOLI scheme” and “[s]ome

  of the acts in furtherance of the conspiracy are alleged to have occurred in Florida” the court had

  personal jurisdiction over the defendant despite the fact that the defendant “is not himself alleged

  to have made any specific contacts with Florida.” 2009 WL 10668502, at *1. To reach that

  conclusion, the Lincoln court considered that the complaint alleged that one of the defendant’s co-

  conspirators “met with Ms. Silver in her home in Boca Raton, Florida to help her complete an

  application that contained material misstatements.” Id. The court concluded that such contact by a

  co-conspirator, rather than the defendant himself, was sufficient for the court to exercise personal

  jurisdiction over the defendant. Id.

         Defendant responds that Plaintiff “failed to allege that any tort or civil wrong was

  committed in Florida” and states only in its response that Coventry reached into Florida to solicit

  and induce Ms. Weiser, but that that allegation “appears nowhere in the Amended Complaint.”

  ECF No. [63] at 11 (emphasis in original).

         The allegations in the Amended Complaint include that




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             •    U.S. Bank was a co-conspirator in the “Delaware-based STOLI scheme through

                  which the Policy was originated.” ECF No. [48] ¶ 16.

             •    “U.S. Bank agreed to serve in various capacities such as securities intermediary to

                  Coventry[.]” Id. ¶ 17.

             •    “The Policy at issue in this case, which insured the life of a Floridian named Judith

                  Weiser, was one of the policies procured by Coventry with the assistance of U.S.

                  Bank through the Delaware-based scheme.” Id. ¶ 19.

             •    “The Application represented that the Insured signed the Application in Miami,

                  Florida, on December 12, 2005.” Id. ¶ 55.

         Plaintiff’s argument fails because the only action specifically alleged to have been taken in

  Florida was the signing of the Application by Ms. Weiser who is not alleged to be a co-conspirator

  in the STOLI scheme. The cases cited by Plaintiff in support of finding personal jurisdiction

  involved actions taken by an alleged co-conspirator in Florida to advance a tortious scheme. See

  Wilcox, 637 So. 2d at 337; AXA, 608 F. Supp. 2d at 1354-55; Lincoln, 2009 WL 10668502, at *1.

  Here, no such action by a co-conspirator was alleged. See ECF No. [48]. Because the Amended

  Complaint contains no allegations of any action taken by Defendant or any co-conspirator within

  the state of Florida, the Court finds that the tortious acts provision does not apply.

                 iii. Fla. Stat. § 48.193(1)(a)(4)

         The “insurance contract” provision of Florida’s statute applies when a person contracts “to

  insure a person, property, or risk located within this state at the time of contracting.” Fla. Stat.

  § 48.193(1)(a)(4). Plaintiff alleges that “[t]his Court has specific personal jurisdiction over U.S.

  Bank because U.S. Bank knowingly acquired an insurance policy (the ‘Policy’) that insured the

  life of a Floridian.” ECF No. [48] ¶ 6.



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         Defendant argues that “[t]he fourth prong of the long-arm statute, which confers personal

  jurisdiction over a defendant who [c]ontract[s] to insure a person, property, or risk located within

  this state at the time of contracting, does not apply because [Defendant] is not an insurer and did

  not contract to insure Ms. Weiser.” ECF No. [56] at 18 (internal quotation marks omitted). In

  support Defendant cites Hudson Capital Properties IV, LLC v. Iecho, in which Florida’s Second

  District Court of Appeal found that the insurance provision did not apply because the “purchase

  of a policy in which an insurance company agreed to insure [a] Florida property did not bring

  Hudson capital within the ambit of section 48.193(1)(a)4’s text.” 341 So. 3d 1196, 1200 (Fla. 2d

  DCA 2022).

         Plaintiff responds that “[t]his Court has long recognized that a defendant contracting to

  insure any person, property, or risk need not itself be an insurance company, but can instead be –

  like U.S. Bank here – an owner of a policy insuring someone else.” ECF No. [60] at 13 (internal

  quotation marks omitted). In support, Plaintiff cites to two cases from district courts within the

  Eleventh Circuit. First, in Lincoln Ben. Life Co. v. Joanne Bauer Irrevocable Life Ins. Tr. 12-2-

  2005, the court considered whether Florida’s long-arm statute applied in another STOLI scheme

  case. No. 8:12-CV-1729-T-33EAJ, 2013 WL 24590, at *3 (M.D. Fla. Jan. 2, 2013). The defendant

  conceded that Florida’s long-arm jurisdiction applied because there was a relevant life insurance

  contract. Id. The court then proceeded to determine whether the action arose from the contracting

  for insurance and determined “that the connexity requirement is met here because the Policy on

  Bauer’s life is central to Lincoln’s claims.” Id.

         Similarly, in Principal Life Ins. Co. v. Mayer for Mignon Kopel Life Ins. Tr., a court in this

  district considered whether it had personal jurisdiction over the defendants in an alleged STOLI

  scheme case. No. 09-20244-CIV, 2009 WL 10668947, at *3 (S.D. Fla. Dec. 15, 2009). The court




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  acknowledged that “Plaintiff has asserted that Defendants Mayer, Goldstein, and Freilich were co-

  conspirators in a scheme to procure a STOLI policy on the life of a Florida resident” and

  “Defendant Freilich contacted Mrs. Kopel in Florida pursuant to this alleged scheme[.]” Id. On

  that basis, the court found that “[a] conspiracy to insure the life of a person located in Florida is

  sufficient to convey Florida long-arm jurisdiction over all the alleged co-conspirators.” Id.

         Defendant distinguishes each of the two cases. First in Lincoln, Defendant points out that

  the defendant conceded that the insurance provision applied to her and that that the Defendant “had

  signed the policy application and was the trustee of the policy’s owner and beneficiary at

  inception.” ECF No. [63] at 7 (citing Lincoln Ben. Life Co., 2013 WL 24590, at *1). Defendant

  also points out that in Principal Life, the court did not rely exclusively on the “insurance contract”

  provision of Florida’s long-arm statute. Id.

         The Court agrees with Defendant. Plaintiff has not provided any case law to support that

  acquiring the rights to an insurance contract conveys personal jurisdiction pursuant to the

  “insurance contract” provision. Rather, the cases Plaintiff cites demonstrate how the analysis could

  be different if Defendant conceded the issue of personal jurisdiction or if the “tortious act”

  provision applied. See Lincoln Ben. Life Co., 2013 WL 24590, at *3; Principal Life Ins. Co., 2009

  WL 10668947, at *3. Plaintiff has not alleged that Defendant contracted to insure Ms. Weiser, but

  only that it knowingly acquired the insurance policy of which Ms. Weiser had already contracted.

  Those allegations are insufficient to support the conclusion that Defendant contracted to insure

  Ms. Weiser.

         Because the Court has concluded that it does not have general or specific personal

  jurisdiction over Defendant, it does not address the remaining arguments for and against dismissal.




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          B.      Request to Conduct Jurisdictional Discovery

          Plaintiff requests that, should the Court not find personal jurisdiction exists, it be permitted

  to conduct jurisdictional discovery. It argues that “it has shown a good faith basis on which to

  conduct discovery to obtain information bearing on the nature and extent of U.S. Bank’s contacts

  with Florida.” ECF No. [60] at 21. Defendant responds that “Pacific Life’s half-hearted request

  for jurisdictional discovery should be rejected.” ECF No. [63] at 13.

          Plaintiff cites Sierra Equity Group, Inc. v. White Oak Equity Partners, LLC, No. 08-80017-

  CIV, 2008 WL 1771857 (S.D. Fla. Apr. 15, 2008) in which a court in this district noted that

  “Eleventh Circuit precedent indicates that jurisdictional discovery is highly favored before

  resolving Federal Rule of Civil Procedure 12(b)(2) motions to dismiss for want of personal

  jurisdiction.” Id. at *1 (citing Eaton v. Dorchester Dev., Inc., 692 F.2d 727, 731 (11th Cir. 1982)).

  That court was considering a request for jurisdictional discovery brought within a Motion for

  Enlargement of Time to Respond to Motions to Dismiss and for Entry of Order Permitting

  Jurisdictional Discovery. Id. The court therefore authorized the jurisdictional discovery prior to

  resolving the Rule 12(b)(2) motion to dismiss.

          Here, by contrast, Plaintiff did not request jurisdictional discovery prior to responding to

  the Motion. In response to the Defendant’s first Motion to Dismiss, Plaintiff filed an Amended

  Complaint alleging additional jurisdictional facts. The parties then fully briefed the instant Motion

  and Plaintiff did not request jurisdictional discovery before doing so. The Eleventh Circuit

  explained that a “Plaintiff must be given an opportunity to develop facts sufficient to support a

  determination on the issue of jurisdiction.” Eaton, 692 F.2d 727 at 731. But Plaintiff failed to

  request such an opportunity before the Court undertook its determination on the issue of

  jurisdiction. Plaintiff has not provided any authority to suggest that in the current posture, after the




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  Rule 12(b)(2) Motion has been decided, that a plaintiff is entitled to conduct jurisdictional

  discovery.

          Defendant cites Andres v. Raytheon Techs. Corp., in which a court in this district

  considered a 12(b)(2) motion to dismiss and request for jurisdictional discovery. No. 21-61757-

  CIV, 2022 WL 1015489 (S.D. Fla. Apr. 5, 2022). There like here, the court had determined that it

  lacked personal jurisdiction over the Defendants. Id. at 3. Having made that determination, the

  Andres court explained that “jurisdictional discovery is not warranted ‘solely to remedy a lack of

  jurisdictional facts[.]’” Id. (quoting In re Zantac (Ranitidine) Products Liab. Litig., No. 20-MD-

  2924, 2020 WL 6907056, at *3 (S.D. Fla. Nov. 24, 2020)). Because this Court has determined that

  personal jurisdiction is lacking it will not permit jurisdictional discovery to be taken to remedy the

  lack of jurisdictional facts.

     IV. CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED as follows:

               1. Defendant’s Motion to Dismiss, ECF No. [56], is GRANTED.

               2. This Case is DISMISSED WITHOUT PREJUDICE for lack of personal

                  jurisdiction.

               3. To the extent not otherwise disposed of, any scheduled hearings are CANCELED,

                  all pending motions are DENIED AS MOOT, and all deadlines are

                  TERMINATED.

               4. The Clerk is directed to CLOSE this case.




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         DONE AND ORDERED in Chambers at Miami, Florida, on September 5, 2023.




                                               _________________________________
                                               BETH BLOOM
                                               UNITED STATES DISTRICT JUDGE
  Copies to:

  Counsel of Record




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